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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                          EASTERN DIVISION AT CLEVELAND


                                                   )
 IN RE: SONIC CORP. CUSTOMER DATA                  )
 BREACH LITIGATION
                                                   ) MDL Case No. 1:17-md-02807-JSG
                                                   )
 THIS DOCUMENT RELATES TO ALL
                                                   ) REPORT OF PARTIES’ PLANNING
 ACTIONS
                                                     MEETING UNDER FED. R. CIV. P.
                                                   )
                                                     26(f) AND LR 16.3(b) and 23.1
                                                   )


        Pursuant to the Court’s December 13, 2017 Order (Dkt. 2) (“Order”), Fed. R. Civ. P. 26(f)

and LR 16.3(b) and 23.1, a conference call was held on Thursday, December 21, 2017 between

Plaintiffs’ counsel, on the one hand: (1) Interim Lead Counsel for Plaintiffs, William Federman,

along with two colleagues from his firm, Federman & Sherwood, Joshua Wells and Nicole

Johnson, (2) Brian Flick of Dann-Law, Interim Liaison Counsel for Plaintiffs, (3) Thomas A

Zimmerman Jr. of Zimmerman Law Offices, P.C., a member of the Interim Plaintiffs’ Steering

Committee (PSC), and (4) Melissa Emert of Stull, Stull & Brody, a member of PSC; and on the

other hand, Defendants’ counsel, Craig Cardon and Kari M. Rollins of Sheppard Mullin Richter

& Hampton LLP. The following reflects the Parties’ joint report of that meeting as required by

the Order.

I.      List of Pending Motions

        As indicated in the Parties’ Preliminary Report submitted to the Court on January 4, 2018,

prior to the centralization and transfer of this consolidated litigation, Sonic Corp. filed motions to

dismiss in the following cases:


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        Gilmore v. Sonic Corp., W.D. Okla. Case No. 5:17-cv-01032-M (filed 12/04/17)

        Ramirez v. Sonic Corp., W.D. Okla. Case No. 5:17-01044-M (filed 12/04/17)

        Lewin v. Sonic Corp., W.D. Okla. Case No. 5:17-01047-M (filed 12/04/17)

II.     Initial Disclosures

        Pursuant to the Order, the Parties will exchange the initial, pre-discovery disclosures

required by Rule 26(a)(1) on or before January 30, 2018.

III.    Track

        The Parties are satisfied with the Mass Tort track recommended by the Court in its Order.

IV.     Alternative Dispute Resolution

        The Parties agree that this litigation is likely suitable for some form of alternative dispute

resolution (“ADR”), but have not yet determined which ADR mechanism is most suitable, nor

have they yet determined at what stage in the proceedings ADR might be most valuable or

effective.

V.      Amended Pleadings/Adding Parties

        Please see the Recommended Case Management Plan in Section 7 below.

VI.     Referral to Magistrate Judge

        Given the decision of the Judicial Panel on Multi-District Litigation to centralize and

transfer this litigation to this Court, and the Honorable James S. Gwin, in particular for adjudication

and management of coordinated and consolidated pre-trial proceedings, the Parties do not consent

to the jurisdiction of the United States Magistrate Judge pursuant to 29 U.S.C. § 636(c).




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VII.    Recommended Case Management Plan

        The Parties propose the Court enter an Order setting the following schedule where

agreed; where the Parties have not reached agreement regarding the proposed case management

plan, the Parties have so indicated below:

                               EVENT                                               DATE

          Deadline to submit agreed protective order           January 4, 2018

          Parties to exchange Rule 26 initial disclosures      January 30, 2018

          Start of discovery                                   Plaintiffs request that fact discovery
                                                               commence on January 30, 2018 or prior if
                                                               granted leave by Court


                                                               Defendant requests that discovery be
                                                               bifurcated between class certification- and
                                                               merits-related discovery, with discovery
                                                               relating only to facts necessary for class
                                                               certification to commence on January 30,
                                                               2018.


          Plaintiffs to file consolidated class action         February 12, 2018
          complaint

          Defendants to file answer or motion to dismiss       March 14, 2018

          Plaintiffs to file response in opposition to         April 13, 2018
          Defendants’ motion to dismiss (if applicable)

          Defendant to file reply to response in               April 27, 2018
          opposition to Defendants’ motion to dismiss
          (if applicable)

          Hearing on motion(s) to dismiss                      May 25, 2018 at 1:30 pm

          Deadline to file second amended consolidated         28 days after ruling on motion to dismiss
          complaint (if necessary and leave is granted
          by court)

          Deadline to file second round motions to             21 days after filing of second amended
          dismiss, if any                                      consolidated complaint



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                               EVENT                                              DATE

          Deadline to file opposition to second round         21 days after filing of second round motion to
          motions to dismiss, if any                          dismiss

          Deadline to file reply to opposition to second      7 days after filing of opposition to second
          round motions to dismiss, if any                    round motion to dismiss

          Hearing on second round motion to dismiss           20 days after close of second round of
                                                              motion to dismiss briefing

          Close of discovery                                  Plaintiffs request that fact discovery close on
                                                              December 28, 2018


                                                              Defendant requests that discovery be
                                                              bifurcated between class certification- and
                                                              merits-related discovery, with discovery
                                                              relating only to facts necessary for class
                                                              certification to close on or before October 1,
                                                              2018.

          Deadline for Plaintiffs to identify and submit      October 31, 2018
          reports of experts for class certification

          Deadline for Defendants to identify and             November 30, 2018
          submit reports of experts for class certification

          Last day to depose experts                          December 31, 2018

          Last day to amend pleadings / add parties           October 31, 2018

          Deadline to file motion for class certification     January 18, 2019
          and opening Daubert motions

          Deadline to file opposition to motion for class     February 22, 2019
          certification and opening Daubert motions

          Deadline to file reply to opposition to motion      March 15, 2019
          for class certification and opening Daubert
          motions

          Hearing on motion for class certification and       April 18, 2019
          Daubert motions




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Dated: January 4, 2018                    Respectfully submitted,

 /s/ William B. Federman                      /s/ Kari M/ Rollins
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